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                          IN THE UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES                                        :       Case No. 3:17-cv-00072

                   Plaintiff                               :       Judge MOON
                                                                   Mag. Judge Hoppe

                                                           :
           -v-

    JASON KESSLER et al.                                   :

                                                           :
                   Defendants
    _______________________________________________________

           REPLY IN SUPPORT OF MOTION TO EXCLUDE EXPERT TESTIMONY
    _______________________________________________________

            Defendants Jason Kessler, Nathan Damigo, Matthew Parrott, Identity Evropa, and

    Traditionalist Workers Party (“Defendants”) hereby WITHDRAW their motion to exclude

    proffered expert witnesses Stephen J. Fenton and Deborah Lipstadt, and MODIFY the motion

    to exclude proffered experts Peter Simi and Kathleen Blee.

    Profs. Simi and Blee will impermissibly usurp the roles of both this Court and the Jury

           The proper scope of an expert's testimony is delineated by Federal Rule of Evidence

    702. As relevant here FRE 702(a) allows expert testimony where the testimony will “help the

    trier of fact to understand the evidence or to determine a fact in issue”.

           Expert testimony that "usurp[s] either the role of the trial judge in instructing the jury

    as to the applicable law or the role of the jury in applying that law to the facts before it,"

    United States v. Bilzerian , 926 F.2d 1285, 1294 (2d Cir.1991). The Fourth Circuit has held
                                                   1
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    that it does not help the jury for an expert to give testimony that "states a legal standard or

    draws a legal conclusion by applying law to the facts" and, thus, such opinions are generally

    inadmissable. U.S. v. McIver, 470 F.3d 550, 562 (4th Cir. 2006). "Generally, the use of expert

    testimony is not permitted if it will usurp either the role of the trial judge in instructing the

    jury as the applicable law or the role of the jury in applying the law to the facts before

    it." U.S. v. Chapman, 209 F.App'x 269-79 (4th Cir. 2006).

               Such testimony does not aid the jury in making a decision, In re Mirena IUD Prod.

    Liab. Litig. , 169 F.Supp.3d 396, 413 (S.D.N.Y. 2016) Rather, such testimony "undertakes to

    tell the jury what result to reach," and thereby "attempts to substitute the expert's judgment for

    the jury's," United States v. Duncan , 42 F.3d 97, 101 (2d Cir.1994) 1 , Elat v. Ngoubene, 993

    F. Supp. 2d 497, 512 (D. Md. 2014).

               Expert testimony generally will not help the trier of fact when it offers nothing more

    than what lawyers for the parties can argue in closing arguments. 4 Weinstein’s Federal

    Evidence § 702.03[2] [a]). Expert testimony should be excluded where it will tend to confuse

    or mislead the jury. FRE 403.

                Profs. Simi and Blee (“Professors” or “they”) extensively violate the above legal

    standards throughout their effort at an expert report. While it would literally require a page by

    page analysis to specify each objectionable section of the report 2, Defendant’s central

    objection is that the report impermissibly states as fact that the Defendants did what the

    plaintiffs accuse them of doing.

               Defendant’s admit that if the professors limited themselves to a historical review of

    white supremacist language and similarities of Defendant rhetoric and processes with those

    historical examples, then let the attorneys take it from there, the report would pass muster.


    1
        See also FRE 704 advisory committee notes.
    2
        Defendants intend to rely on oral argument for this purpose
                                                              2
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             The professors, however, have chosen to explicitly tell the jury that the Defendants

    conspired to and did intentionally use violence to achieve their political goals and that the

    Defendants are lying, pursuant to a pre-UTR plan to do so, when they offer alternate and

    legally innocent explanations of the same rhetoric and processes. 3 These explicit factual and

    legal assertions4, with barely an “in our opinion” spliced in among them, spill the banks of

    what the law allows and must be kept away from the jury.5

    Conclusion

             Defendants withdraw their motions as to Stephen J. Fenton and Deborah Lipstadt, and

    modify their motion as to Profs. Simi and Blee from exclusion “in it’s entirety” to as stated

    above or at oral argument.




                                                 Respectfully Submitted,



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    3
      See, for example, pgs. 2, 26-28, 46, 50, 57, 62-63.
    4
      As distinct from the whole report
    5
      Due to the breath of the proffered expert report, Defendants intend to rely on oral argument to more fully
    delineate objectionable sections therein.
                                                            3
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                                         ATTORNEY FOR DEFENDANTS




                                  CERTIFICATE OF SERVICE

            I certify the above was served on September 18, 2020 on all ECF participants and that
    parties requiring service by other means were served as follows:

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                                                        s/ James E. Kolenich
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